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J E A N N E - M A R I E              W I L L I A M S
T H O M A S         V A N D E N A B E E L E                                                                                C O U N S E L
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R O N N I E         W E I N S T E I N
E L I Z A B E T H          L I N
M I C H E L L E           M A R T I N
                                                                             October 30, 2017

          By ECF
          Hon. Kevin N. Fox
          United States Magistrate Judge
          United States Courthouse
          40 Foley Square. Courtroom 228
          New York, NY 10007

                                                          Ilda Araujo, et al. v. Eric Macaire 16-cv-09934 (PAE) (KNF)

          Dear Judge Fox:

                   We respectfully submit this letter in further support of our request for an informal pre-
          motion discovery conference with the Court before filing a motion pursuant to Rule 37 of the
          Federal Rules of Civil Procedure and pursuant to the inherent power to sanction a party for bad faith
          litigation conduct.

                  First, in his letter in opposition (DE#46), defendant cleverly uses the verb “modify” instead
          of “forge”, but he admits that defendant Macaire is the one who falsify the Arnoff invoice: “…the
          document was modified by Macaire…” (Id. at p. 11). By comparing the actual invoice issued by
          Arnoff (DE#45-4) with the version forged by Macaire (DE#45-3), the Court can take judicial notice
          that Macaire used a software, or an equipment, to alter the actual invoice in order to match the font
          and color used by Arnoff, to neatly delete “Liz” as in “Macaire, Liz” and to add “Jubilee First
          Avenue Corp.” in the appropriate box.

                  Regardless of when Macaire forged that invoice, he knowingly produced the forged invoice
          as part of his discovery response, and tellingly failed to produce any other invoice from Arnoff.2

                  In fact, on June 8, 2017 (that is the day before Defendant Macaire responded to Plaintiffs’
          first Request for Production, see DE#45-1), Defendant’s wife, Liz Macaire, tried to support her

          1
            By professing that the “modification” was “for bookkeeping purposes”, Macaire does not exonerate himself from
          falsifying a valid business record thereby creating a false business purpose.
          2
            Defendant counsel misquoted plaintiff’s counsel, who did not “allege that Macaire forged the Arnoff invoice during
          the course of this litigation.”
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husband’s lie that Arnoff is a corporate expense that should be paid by Jubilee, and to cover-up the
forgery, by attempting to convince Arnoff to re-issue all the Arnoff’s invoices with “Jubilee’s
name” on them (See Exhibit 13). Upon Arnoff’s refusal, Macaire presumably decided not to
produce the Arnoff’s invoices (with the exception of the one he forged): Thus, on June 8, 2017,
Tom Sinistore of Arnoff emailed Liz Macaire: “Hi Liz, I took a look at the storage contract
for you, and the contract was put under your name, not Jubilee's, so we cannot change the invoices."
(Id.) On the same day Liz Macaire insisted in a subsequent email: "Ok ... well can you at least add
Jubilee to the contact invoices?" (Id.) Tom Sinistore responded: "Attached is the payment summary.
Unfortunately I can't remake the invoice with another name on them." (Id.)

       The Court will observe that once again, it is only after Plaintiffs write to this Court that
defendant professes to try to obtain the records, notwithstanding the fact that it has been defendant’s
duty and burden to produce these documents responsive to plaintiff’s document requests for now
more than four months since the documents were due to be produced.

        Furthermore, defendant is silent about his refusal to give his permission to allow Arnoff to
speak to Jubilee (See Arnoff June 29, 2017 log entry from Arnoff’s employee Thomas Sinistore as
DE#45-2 at p. 2). As a result, Arnoff has consistently refused to speak to Plaintiff Ilda Araujo when
she called Arnoff on two occasions in June 2017.4 Defendant even asked Arnoff to confirm that if
Jubilee paid the outstanding balance they would not have access to the storage (Id.)

        Finally, defendant’s letter fails to address defendant’s pattern of delays and unwillingness to
produce documents. This morning, defendant failed to appear at his duly noticed deposition.
Defendant’s counsel stated that he did not think the deposition was on because plaintiff’s counsel
did not confirm, but defendant’s counsel did not seek an adjournment or contact plaintiff’s counsel
to confirm the date of the deposition.5

       For the foregoing reasons, plaintiffs’ proposed motion for discovery sanction is appropriate
and necessary.


                                                                Respectfully yours,



                                                                Thomas Vandenabeele




3
  That email is part of the documents Arnoff produced to plaintiffs in response to a subpoena. Plaintiffs’ counsel
immediately emailed a copy of these documents produced by Arnoff to defendant’s counsel.
4
  It is true that Plaintiffs’ counsel subsequently spoke to Don Sagliano of Arnoff in July 2017 but in connection with the
subpoena plaintiffs served on Arnoff, and then in October in response to Don Sagliano’s inquiries.
5
  Counsel for both parties agree to hold the deposition tomorrow Tuesday October 31, 2017 at 11:00 am
